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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE


SABRINA ALBERG

      v.                              Civil No. 17-cv-79-AJ

FOSS MOTORS, INC.

                               MEDIATION REPORT

      The parties successfully resolved the case at mediation

held on December 4, 2018.         An appropriate agreement for entry of

judgment or stipulation for dismissal is to be filed within

thirty (30) days.        L.R. 41.1.


              SO ORDERED.

                                      ____________________________
                                      Joseph N. Laplante
                                      United States District Judge

Dated:     December 12, 2018

cc:   H. Jonathan Meyer, Esq.
      Daniel P. Schwarz, Esq
      K. Joshua Scott, Esq.
